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                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA


  IN RE:

  ALL MATTERS RELATED TO NORTH                        Misc. Case No. 15-00204-TPA
  AMERICAN REFRACTORIES
  COMPANY, et al. in Case No. 02-20198, as            Chapter 11
  affected by the May 24, 2013 Order
  Entering Final Decree entered at Doc. No.
  7940
                        Debtors.


  HONEYWELL INTERNATIONAL INC.,                       Adv. No. 21-2097

                        Plaintiff,
           v.

  NORTH AMERICAN REFRACTORIES
  COMPANY ASBESTOS PERSONAL
  INJURY SETTLEMENT TRUST,

                        Defendant.


     MOTION TO PRECLUDE THE FILING OR ADMISSION INTO EVIDENCE OF
       NON-PARTY CLAIMANT LAW FIRM IDENTIFYING INFORMATION

         The North American Refractories Company Asbestos Trust Advisory Committee (the

 “TAC”) and the Future Claimants’ Representative (“FCR”), through their undersigned counsel,

 respectfully submit this motion seeking an order precluding the filing of documents, or admission

 at trial of evidence, containing identifying information regarding law firms that represent

 individual claimants, and instead requiring that such information be redacted. In support thereof,

 the TAC respectfully states as follows:

                                PRELIMINARY STATEMENT

         1.     In this proceeding, neither Honeywell International, Inc. (“Honeywell”) nor the

 North American Refractories Company Asbestos Personal Injury Settlement Trust (the “Trust”)


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 seek any relief or ruling bearing on any individual law firm. Despite this, as matters currently

 stand, much of the evidence that is to be presented to the Court at trial contains identifying

 information regarding law firms who have submitted claims to the Trust, including information

 designated as “Confidential” and “Highly Confidential” under the protective order in this case.

         2.      All the parties except Honeywell have agreed to redact the identity of claimant law

 firms. Honeywell has refused to agree to this relief. 1 Moreover, Honeywell has failed to provide

 a basis for the relevance of the identity of individual law firms. This failure suggests a strategy

 designed to impugn the integrity of non-parties in this trial for purposes other than informing the

 Court’s decision on the merits.

         3.      The identities of law firms who have submitted claims are not relevant to the issues

 before the Court; putting their identifying information into the evidentiary record is unnecessary

 to Honeywell’s case and harmful. Honeywell’s allegations here assail the character of claimant

 law firms and the proceedings will divulge confidential information about the firms. But the law

 firms are not parties to this matter.

         4.      It is therefore appropriate to preclude the filing of pleadings or admission of

 evidence containing unredacted information identifying claimant law firms, and instead require

 parties to redact such information and, when necessary, assign the firm and its attorneys a

 designation such as (e.g., “Firm A” or “Attorney 1”). Such a procedure is both fair and will

 promote efficiency at trial by reducing the amount of sealing that will need to take place.




 1
     All of the Parties, including Honeywell, have agreed to redact from filings and exhibits offered
 into evidence any information identifying an individual claimant, such as name, address, and social
 security numbers.


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                                         BACKGROUND

        5.      On November 18, 2021, the Parties filed the Confidentiality Stipulation and

 Protective Order (the “Protective Order”). [D.I. 123]. On December 2, 2021, this Court entered

 an Order approving the Protective Order. [D.I. 143].

        6.      Pursuant to the terms of the Protective Order, parties may designate documents,

 testimony, and other information produced or disclosed in these proceedings as either

 “Confidential” or “Highly Confidential.” Documents so designated may not be disclosed in filed

 papers, id. § 4.13, or in open court, § 4.2.6, absent reasonable notice and an opportunity to seek

 further protections.

        7.      Since the Protective Order was entered, the Parties have produced thousands of

 documents and taken 23 depositions. Many of the produced documents and most of the deposition

 testimony have been designated either “Confidential” or “Highly Confidential” pursuant to the

 Protective Order. The information includes sensitive and confidential information regarding

 individual law firms, including personal identifying information.

                                      RELIEF REQUESTED

        8.      The TAC and FCR ask that the Court enter an order (i) precluding the filing of

 documents, or admission at trial of evidence, containing unredacted information identifying

 asbestos claimant law firms, such as firm and lawyer names and addresses, and (ii) requiring

 parties to redact such information and, where necessary, assign the firm and its attorneys a

 replacement identifier (e.g., “Attorney 1” or “Firm A”). 2 The relief requested imposes little burden




 2
     The movants request that the Parties’ agreement to redact claimant identifying information be
 included in any order on this Motion. Redaction of claimant identifying information is warranted
 under applicable law, including the law cited herein.


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 other than requiring the participants in the trial to adhere to a form of redaction that they have

 already agreed to with respect to the identifying information of individual asbestos claimants.

                                       BASIS FOR RELIEF

        9.      A common law right of access attaches to documents filed with federal courts,

 including bankruptcy courts. In re Avandia Mktg., Sales Pracs. & Prods. Liab. Litig., 924 F.3d

 662, 672 (3d Cir. 2019). However, that common law right of access is not absolute and may be

 overcome by a showing that the interest in confidentiality outweighs that presumption. Id. To

 justify the redaction of a court filing, the movant must show “that the material is the kind of

 information that courts will protect and that disclosure will work a clearly defined and serious

 injury to the party seeking closure.” Id. (citing Miller v. Ind. Hosp., 16 F.3d 549, 551 (3d Cir.

 1994) (internal quotation marks omitted)). 3

        10.     Courts in this circuit have recognized that redaction may be appropriate to protect

 the privacy and reputational interests of those not a party to the litigation before the court. See

 Black Bear Energy Servs., Inc. v. Youngstown Pipe & Steel, LLC, No. CV 15-50, 2019 WL



 3
      Certain courts have recognized that, where certain portions of filings with a court are not
 directly relevant to the merits of the underlying case they should not be considered a judicial
 document subject to the heightened “compelling reasons” standard. See McConnell v. FEC, 251
 F. Supp. 2d 919, 932 (D.D.C. 2003) (“[W]hat makes a document a judicial record and subjects it
 to the common law right of access is the role it plays in the adjudicatory process.” (internal
 quotation marks and citation omitted)); United States v. Snyder, 187 F. Supp. 2d 52, 62-63
 (N.D.N.Y. 2002) (“[T]he mere filing of a paper or document with the court is insufficient to render
 that paper a judicial document subject to the right of public access. [T]he item filed must be
 relevant to the performance of the judicial function and useful in the judicial process in order for
 it to be designated a judicial document.” (internal quotation marks and citation omitted)). In such
 situations, courts have applied a lower standard to requests to seal or redact documents. See, e.g.,
 Nursing Home Pension Fund v. Oracle Corp., No. C01-00988 MJJ, 2007 WL 3232267, at *3-4
 (N.D. Cal. Nov. 1, 2007) (granting request to redact and seal the certain portions of contracts,
 email communications, and cites to the same for “good cause” to protect a non-party’s privacy
 interests). While this lower standard arguably applies here, because the information sought to be
 redacted is not relevant to the merits of the underlying case, the heightened standard is met, as
 demonstrated below.


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 1296654, at *6 (W.D. Pa. Mar. 21, 2019) (ordering that document should be redacted of allegations

 attacking the ethics, character, and business tactics of a third party); Wartluft v. Milton Hershey

 Sch. & Sch. Tr., No. 1:16-CV-2145, 2020 WL 1082712, at *5 (M.D. Pa. Mar. 6, 2020) (ordering

 documents unsealed subject to narrowly tailored redactions to protect third-party privacy

 interests).

         11.    At trial, it is likely that evidence will be presented that implicates these same

 concerns regarding non-parties’ privacy and reputational interests. Honeywell has designated

 confidential settlement agreements entered into by particular law firms, as well as confidential

 audit reports discussing particular law firm internal processes and procedures as potential exhibits.

 Meanwhile, Honeywell asserts there is “rampant fraud” in the asbestos trust and tort system. See,

 e.g., Complaint ¶ 161, D.I. 99. Honeywell’s Complaint accuses law firms and their clients of

 “improper” conduct. Id. ¶¶ 89-90. Honeywell names an individual law firm and implies that the

 law firm and its clients may be engaging in nefarious behavior. See id. ¶¶ 92-95. Honeywell

 claims at another point that an affidavit submitted by a particular law firm is a “fraud.” Id. ¶ 136.

         12.    While the Court may disregard such statements as mere hyperbole, permitting

 Honeywell to use this Court as a forum for disparaging particular named law firms is simply unfair

 because those firms are not here to defend themselves. They are not parties to this case. Moreover,

 the identity of law firms is irrelevant to the actual relief Honeywell seeks in this case, none of

 which implicates the identity of any particular law firm. See id. at 62 (Prayer for Relief). To

 protect the important privacy rights of non-party law firms, the Court should order that documents

 or evidence that names individual law firms that have submitted claims to the Trust be filed or

 accepted into evidence only in redacted form. Black Bear, 2019 WL 1296654, at *6.




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        13.     In Black Bear, Judge Conti faced issues very similar to the ones presented here. In

 Black Bear, a party sought to seal a report that contained allegations regarding the character and

 business practices of a non-party. Black Bear, 2019 WL 1296654, at *5. In determining that the

 report should be redacted to protect the privacy interests of the non-party, the court focused on a

 few key facts. First, the report was the sort of information that courts will protect because its

 disclosure could subject a non-party to “serious and particularized embarrassment and harm to his

 personal and business reputation because of the detailed allegations contained in the report about

 [the non-party’s] character and business practices.” Id. at *5-6. Second, the veracity of the

 allegations were not actually relevant to the issues before the court and therefore sealing those

 allegations would not shield from the public the court’s reasoning in adjudicating the merits of the

 dispute. Id. at *6. The court further focused on the fact that, as a non-party, the third party would

 not be able to defend his name at trial. Id. at *5. Accordingly, the court concluded that even under

 the heavier common law standards applicable to sealing documents, while wholesale sealing was

 not necessary, good cause existed to redact portions of the report in question. Id. at *6.

        14.     Similarly, in the present case Honeywell’s allegations impugn the professional

 character of certain law firms, including their practices. See supra ¶ 11. Like in Black Bear, the

 truth of those statements with respect to any particular law firm is not relevant to the issue before

 the Court—whether the Trust is processing claims appropriately. The name of a law firm is not

 of consequence in determining whether or not the Trust is processing claims in an appropriate

 manner. Accordingly, accusations directed to specific law firms are of no consequence to this

 adversary proceeding.

        15.     This Court has previously recognized that this action will not involve “looking

 back” to review the merits of previously-approved claims. Hr’g Tr. 61:8-19; 67:1-10, Dec. 13,




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 2021. Further, like in Black Bear, these law firms are not parties to this action and will not be able

 to defend their reputations at trial. Allowing Honeywell to enter into the record insinuations

 regarding specific law firms when they are not present to defend their reputations could deter these

 firms and others from submitting claims to the Trust for fear they will become a target the next

 time Honeywell decides to venture down the path of litigation.

        16.     Indeed, permitting Honeywell to use this forum to attack non-party claimant law

 firms in absentia could have a chilling effect on the submission of claims to the Trust itself.

 Claimants, both present and future, will be impacted if Honeywell is permitted to accuse individual

 claimant law firms of improper behavior. The impact would include disruption and delays in

 processing and payment of claims in the future.

        17.     Because identifying information regarding law firms is the kind of information that

 courts will protect and disclosure will work a clearly defined and serious injury to claimant firms

 and to the Trust itself, cause exists to redact portions of any proposed exhibit that identifies such

 firms. Avandia, 924 F.3d at 672. The proposed relief is narrowly tailored to further the interest in

 preventing harm to a non-party’s business or reputation and therefore proper. Black Bear, 2019

 WL 1296654, at *6.

        18.     The relief sought in this motion is also consistent with 11 U.S.C. § 107 as it seeks

 to prevent the unnecessary dissemination of confidential and/or defamatory information. See, e.g.,

 In re Associated Cmty. Servs., Inc., 547 B.R. 236, 242-43 (Bankr. E.D. Mich. 2016) (striking

 statements under § 107(b)(2) that negatively reflected on the integrity of a non-party law firm

 where those statements were not relevant to the lawsuit). See also In re Motions Seeking Access

 to 2019 Statements, 585 B.R. 733, 760 (D. Del. 2018) (confirming bankruptcy court order




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 implementing certain procedures to protect the privacy of individuals with asbestos personal injury

 claims under 11 U.S.C. § 107(c)), aff’d sub nom. In re AC&S Inc, 775 F. App’x 78 (3d Cir. 2019).

           19.    Granting the motion now, before trial, will streamline the trial proceedings by

 reducing the amount of sealing that will otherwise need to take place, which is in the best interest

 of all parties. In re Japanese Elec. Prods. Antitrust Litig., 723 F.2d 238, 260 (3d Cir. 1983)

 (holding that the district court’s use of an in limine ruling was appropriate because it “was far more

 efficient than if the rulings were deferred until the trial”), rev’d on other grounds 475 U.S. 574

 (1986); Wartluft v. Milton Hershey Sch. & Sch. Tr., No. 1:16-CV-2145, 2020 WL 1082712, at *5

 (M.D. Pa. Mar. 6, 2020) (holding that redacting the names of personnel rather than allowing the

 wholesale sealing of documents would provide sufficient protection of their interests); see also

 Hanks v. Voya Ret. Ins. & Annuity Co., No. 16-CV-6399 (PKC), 2021 WL 2451981, at *1

 (S.D.N.Y. June 16, 2021) (recognizing that redacting sensitive information is a preferable

 alternative to sealing an entire document (citing United States v. Aref, 533 F.3d 72, 83 (2d Cir.

 2008)).

                                           CONCLUSION

           The TAC and FCR believe it is important to seek clarity before trial as to how identifying

 information regarding non-party law firms should be treated. For the reasons set forth above, the

 TAC and FCR respectfully request that the Court grant this motion and the relief requested herein.




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 Dated: April 22, 2022
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